Case 2:03-Cv-02754-.]PI\/|-tmp Document 50 Filed 07/13/05 Page 1 of 3 Page|D 75

Fn.so mr “__,_ o.c.
IN TI'IE UNITED STATES DISTRICT COURT

FoR THE wEs'rERN DIsTRIc'r oF TENNESSEE :
wF.sTERN DIVISION 05 JUL 13 AH\| 03

 

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LESLIE D. CHAMBERS, IRIS
HANCOCK CHAM:BERS and DeLY'NN
CHAM.'BERS, INC. ,

Plaintiffs,

v. Nb. 03-2754 Ml/P
AL FREEMAN, Individually and
in his capacity as a Deputy
Sheriff of Fayette County,
Tennessee, DAN FEATHERS,
Individually and in his
capacity as an Officer of the
City of Somsrville, Tennessee
Police Department, TOM TAYLOR,
Individually and in his
capacity as an officer of

the Memphis Police Departmsnt,

V`JVVVV`IVVVVVVVVVVVVVV

Defendants.

 

ORDER TO SHOW CAUSE

 

Before the Court is the motion for summary judgment of
Defendant Dan Feathers, filed June 2, 2005. Under Local Rule
7.2(a)(2) and Fed. R. Civ. P. 6, a response to the motion was due
on or before July 5, 2005. To date, Plaintiff has not filed a
response. Accordingly, Plaintiff is hereby ORDERED to SHOW CAUSE
within ten (lO) days of the date of entry of this Order why

Defendant's motion should not be granted.1

 

l To comply with this Order, Plaintiff must file a written

response to the motion for summary judgment.

T`nls'I document entered on the docket Sheet ln compliance

with Ftu1e 58 and!or ?B{a) FF\CP on 12 '~Lz j§ 5_0

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Failure to respond to this Order to Show Cause in a timely
manner may result in the Court granting Defendant’s motion for

summary judgment .

So OR_DERED this § day of July, 2005.

Q/NO&Q.

J N P. MCCALLA
ITED STATES DIS'I'RICT JUDGE

 

ESTNER 1

Notice of Distribution

This notice confirms a copy of the document docketed as number 50 in
case 2:03-CV-02754 Was distributed by faX, mail, or direct printing on
.1 uly 13, 2005 to the parties listed.

 

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Honorable .1 on McCalla
US DISTRICT COURT

